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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

 STATE OF GEORGIA, et al.,

                      Plaintiffs,
                                                       Case No. 2:15-cv-79
                      v.

ANDREW WHEELER, et al.,

                      Defendants.


    INTERVENOR PLAINTIFFS’ RESPONSE TO INTERVENOR DEFENDANTS’
       RULE 56.1 STATEMENT IN SUPPORT OF THEIR CROSS MOTION
                      FOR SUMMARY JUDGMENT



       Pursuant to Local Rule 56.1 and this Court’s December 4, 2018 Order (Dkt. 225), the

Intervenor Plaintiffs respectfully refer the Court to their Local Rule 56.1 Statement of Material

Undisputed Facts in Support of their Motion for Summary Judgment (Dkt. 199-1) and submit the

following in response to the Intervenor Defendants’ Statement of Material Undisputed Facts

(Dkt. 211-1). The paragraph numbers refer to the corresponding numbers in the Intervenor

Defendants’ Statement.

                                      General Objection

       “The focal point for judicial review of an administrative agency’s action should be the

administrative record.” Pres. Endangered Areas of Cobb’s History, Inc. v. U.S. Army Corps of

Eng’rs, 87 F.3d 1242, 1246 (11th Cir. 1996) (citing Camp v. Pitts, 411 U.S. 138, 142 (1973)).

“[T]he ‘task of the reviewing court is to apply the appropriate standard of review to the agency

decision based on the record the agency presents to the reviewing court.’” Id. (quoting Fla.

Power & Light Co. v. Lorion, 470 U.S. 729, 743–44 (1985) (alterations incorporated)). Thus,




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“the material facts are those facts present in the agency’s administrative record.” Sea Turtle Con-

servancy v. Locke, 2011 WL 13227945, at *2 (N.D. Fla. July 5, 2011). In other words, “when a

party seeks review of agency action under the APA, the district judge sits as an appellate tri-

bunal,” and “[t] he entire case on review is a question of law.” Am. Bioscience, Inc. v. Thompson,

269 F.3d 1077, 1083 (D.C. Cir. 2001) (internal quotation marks omitted). And “while certain

circumstances may justify going beyond the administrative record” (Endangered Areas, 87 F.3d

at 1246), none of the “facts” asserted in the Intervenor Defendants’ statement permit consider-

ation of extra-record material. Accordingly, the claims in this case should be evaluated based on

the administrative record (Dkt. 198-1) and the legal citations in the parties’ briefs.1

        In circumstances like these, courts have generally held that Rule 56.1 statements (and

responses to them) are unnecessary in APA cases. See, e.g., Just Bagels Mfg., Inc. v. Mayorkas,

900 F. Supp. 2d 363, 372 n.7 (S.D.N.Y. 2012) (directing parties not to submit Local Rule 56.1

statements in APA case); Glara Fashion, Inc. v. Holder, 2012 WL 352309, at *1 n.1 (S.D.N.Y.

Feb. 3, 2012) (no Local Rule 56.1 statement required in administrative record review case);

Student X v. N.Y. City Dep’t of Educ., 2008 WL 4890440, at *11 (E.D.N.Y. Oct. 30, 2008)

(declining to require counter-statement of undisputed material facts in APA case).2

        Subject to this general objection, Intervenor Plaintiffs respond as follows:

        1.      Plaintiffs’ claims are brought under the APA, and the Court must determine

whether the challenged agency action is arbitrary, capricious, or contrary to law based on the ad-

ministrative record. To the extent Intervenor Defendants recite facts in this paragraph that


1
    To the extent that standing must be proven by extra-record material, the facts supporting Intervenor
Plaintiffs’ standing are not disputed by any of the defendants. To the extent the Court must review facts
outside the record to adjudicate Intervenor Plaintiffs’ claim that the agencies had a closed mind and
engaged in unlawful lobbying and propaganda activities (Dkt. 199, at 31-33), such review is permissible.
See Endangered Areas, 87 F.3d at 1246 n.1.
2
    The Intervenor Plaintiffs filed their own Rule 56.1 statement only in an abundance of caution.



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To the extent a response is deemed required, such facts are disputed.

       2.      Plaintiffs’ claims are brought under the APA, and the Court must determine

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       46.     Plaintiffs’ claims are brought under the APA, and the Court must determine

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Dated: December 10, 2018                    Respectfully Submitted,
                                            /s/ Timothy S. Bishop
                                            Timothy S. Bishop*
                                            Michael B. Kimberly*
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                                            Georgia Bar No. 395041
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                                            777 Gloucester Street, Suite 200
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                                            (912) 265-6700 (tel.)
                                            (912) 264-0244 (fax)
                                            mjohnson@gilbertharrelllaw.com
                                            Attorneys for Intervenor Plaintiffs
                                            * admitted pro hac vice


                               CERTIFICATE OF SERVICE

       I hereby certify that, on December 10, 2018, I filed and thereby caused the foregoing

document to be served via the CM/ECF system in the United States District Court for the

Southern District of Georgia on all parties registered for CM/ECF in the above-captioned matter.

                                                    /s/ Timothy S. Bishop




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